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                                 11270




                  EXHIBIT A
       Case 3:17-cv-00072-NKM-JCH Document 762-1 Filed 06/11/20 Page 2 of 5 Pageid#:
                                        11271




From: Acacia Dietz [mailto:acacia.dietz@outlook.com]
Sent: Thursday, May 28, 2020 4:45 PM
To: Ken Kim <kkim@idsinc.com>; Jessica Phillips <jphillips@bsfllp.com>
Cc: iDS_SINKS-02678 <ids_sinks-02678@idsinc.com>; Yotam Barkai <ybarkai@bsfllp.com>; ESQ Edward ReBrook
<rebrooklaw@gmail.com>; Jessica Phillips <jphillips@bsfllp.com>
Subject: Re: Sines v. Kessler - Court order regarding Jeff Schoep data production


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Ken,

Please release "any and all ESI collected from Schoep’s social-media accounts and devices that contain the
agreed-upon search terms within the applicable date range.” in regards to Mr. Schoeps Mobile and Twitter to
the Plaintiffs Counsel as per the May 27, 2020 court order. Thank you.

Acacia Dietz

The ReBrook Law Office

Phone: 586.696.0385

Email: acacia.dietz@outlook.com


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by electronic mail (acacia.dietz@outlook.com) and delete this message and all copies and backups thereof.
Thank you.

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                                         11272


From: Jessica Phillips <jphillips@bsfllp.com>
Sent: Thursday, May 28, 2020 12:22:44 PM
To: Acacia Dietz <acacia.dietz@outlook.com>; Ken Kim <kkim@idsinc.com>
Cc: iDS_SINKS-02678 <ids_sinks-02678@idsinc.com>; Yotam Barkai <ybarkai@bsfllp.com>; ESQ Edward ReBrook
<rebrooklaw@gmail.com>; Jessica Phillips <jphillips@bsfllp.com>
Subject: RE: Sines v. Kessler - Court order regarding Jeff Schoep data production

Ms. Dietz:

The Court’s May 27, 2020, Order is clear that Plaintiffs are entitled to “any and all ESI collected from Schoep’s social-
media accounts and devices that contain the agreed-upon search terms within the applicable date range.” As you know,
iDS has already imaged and processed the materials from Mr. Schoep’s social media accounts and the iPhone 6s he sent
to iDS on May 14, 2020. iDS has confirmed to me that the universe of documents that contain the agreed-upon search
terms within the applicable date range has been collected and can be produced by iDS within a day. I note that nothing
in the order requires iDS to wait for Mr. ReBrook or you to approve production of these materials to Plaintiffs, although
you have now instructed the vendor to produce only a subset of those documents, which is plainly contrary to the
Court’s order. As you know, the Court has warned Mr. Schoep that “his failure to fully comply with this Order may result
in the Court imposing sanctions under Rule 37(b)(2) of the Federal Rules of Civil Procedure and/or directing Schoep to
show cause why he should not be held in contempt of court.” Please confer with Mr. ReBrook and let Plaintiffs and iDS
know by 5 pm ET today whether Mr. Schoep authorizes iDS to produce to Plaintiffs “any and all ESI collected from
Schoep’s social-media accounts and devices that contain the agreed-upon search terms within the applicable date
range.” Plaintiffs reserve all rights.

Jessica E. Phillips
Partner

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Washington, DC 20005
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From: Acacia Dietz [mailto:acacia.dietz@outlook.com]
Sent: Thursday, May 28, 2020 10:50 AM
To: Ken Kim <kkim@idsinc.com>
Cc: iDS_SINKS-02678 <ids_sinks-02678@idsinc.com>; Jessica Phillips <jphillips@bsfllp.com>; Yotam Barkai
<ybarkai@bsfllp.com>; ESQ Edward ReBrook <rebrooklaw@gmail.com>
Subject: RE: Sines v. Kessler - Court order regarding Jeff Schoep data production


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Ken –

Please see the attached 5/27/2020 court Order (applicable part referenced below) and ONLY produce “Responsive”
documents to Plaintiffs’ Counsel until I am able to confer with Mr. ReBrook on this matter.



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          On or before Monday, June 8, 2020, the Vendor shall provide directly to Plaintiffs’ counsel any and all
          ESI collected from Schoep’s social-media accounts and devices that contain the agreed-upon search
          terms within the applicable date range.

Either myself or Mr. ReBrook will respond regarding production of “any and all ESI” from Mr. Schoep’s mobile and
Twitter before June 8, 2020.

Thank you.

ACACIA DIETZ
Legal Assistant
THE REBROOK LAW OFFICE
Phone: 586.696.0385
Email: acacia.dietz@outlook.com




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From: Ken Kim
Sent: Thursday, May 28, 2020 10:37 AM
To: Acacia Dietz
Cc: iDS_SINKS-02678; Jessica Phillips; Yotam Barkai; ESQ Edward ReBrook
Subject: Sines v. Kessler - Court order regarding Jeff Schoep data production

Hi Acacia:

Subsequent to our communications (yesterday and this morning) regarding production of Mr. Schoep’s mobile data and
Mr. Schoep’s @jeffschoep Twitter account, iDS has been made aware by plaintiff’s counsel of a court order filed on
5/27/2020 providing that “[v]endor shall provide directly to Plaintiffs’ counsel any and all ESI collected from Schoep’s
social-media accounts and devices that contain the agreed-upon search terms within the applicable date range.” As
such, plaintiff’s counsel (copied on this email) has requested that iDS produce ALL the data currently in the Relativity
workspace for Mr. Schoep’s mobile data and Mr. Schoep’s @jeffschoep Twitter account (as these are the search term
hits). Please confirm that you have no issues with iDS adhering to the court order and producing ALL the data currently
in the Relativity workspace for Mr. Schoep’s mobile data and Mr. Schoep’s @jeffschoep Twitter account.

Let us know if you have any questions.

Regards,
Ken

Kenneth Kim
Consultant, Discovery Services
iDiscovery Solutions
3000 K Street NW, Suite 330
Washington, DC 20007
Mobile: 267.847.4876




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